                                         Entered on Docket
                                         June 25, 2019
                                         EDWARD J. EMMONS, CLERK
                                         U.S. BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF CALIFORNIA


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                                       Signed and Filed: June 25, 2019
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 4                                     ________________________________________
                                       DENNIS MONTALI
 5                                     U.S. Bankruptcy Judge

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 7
 8                           UNITED STATES BANKRUPTCY COURT
 9                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
10 In re                                    )       Chapter 11
                                            )
11   PG&E CORPORATION,                      )       Bankruptcy Case
                                            )       No. 19-30088-DM (Lead Case)
12   and                                    )
                                            )
13   PACIFIC GAS AND ELECTRIC               )       Bankruptcy Case
     COMPANY,                               )       No. 19-30089-DM
14                                          )
                             Debtors.       )       (Jointly Administered)
15                                          )
                                            )
16   9 Affects PG&E Corporation             )
     9 Affects Pacific Gas and Electric Co. )
17   X Affects both Debtors                 )
                                            )
18   * All papers shall be filed in         )
         Lead Case, No. 19-30088-DM.        )
19   _______________________________
     _
20
           ORDER AND NOTICE REGARDING JUNE 26, 2019, 9:30 AM HEARING
21
22
           The court intends to begin with oral argument on the Motion to
23
     Dismiss Adv. Proc. 19-3005.
24
           Next it will pose a number of general questions about the
25
     proposed proof of claim forms, instructions and the proposed order
26
     submitted by Debtors.        As to some specifics about the TCC’s “Fire
27
     Claim Related” form and the “Wildfire Related” Debtors’ form (the
28
     court is indifferent about which title), tentatively it favors the
     addition of Question 2 in Part 1 of the TCC form; prefers the
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 1 language of Question 11 in Part 3 of the Debtors’ form over Question
 2 9 of Part 2 of the TCC form; and in               the Instructions, the TCC’s
 3 first bullet point after “How to fill out this form” is more
 4 informative than Debtors’.
 5        These questions and observations are primarily for counsel for
 6 Debtors and the TCC, but other counsel will be invited to comment as
 7 appropriate.
 8        The court will next invite argument about the actual bar date
 9 to be set.     The current choices appear to be October 21, 2019, to
10 January 31, 2020, or somewhere in between.                Debtors’ counsel needs
11 to explain when notices will in fact begin to be disseminated,
12 assuming an order is entered as soon as July 1.                 With a mailing
13 receipt deadline in New York of October 21, how many actual days
14 will parties have?        On a related point, since there is no public
15 information about any plan being filed yet, does an earlier or later
16 bar date really make a difference?
17        Conversely, how does the TCC reconcile its prior comments about
18 the need for haste with an extension of over three more months?
19 Also, why is the TCC concerned about preventing claims objections
20 from being filed before a bar date?
21        Next the court will listen to arguments of counsel for and
22 against the Debtors’ notice procedures, as supplemented in its
23 Corrected Reply (2646) and related documents, and the TCC motion to
24 employ Angeion to implement its proposed procedures.                     The court will
25 not devote any time to a discussion of Prime Clerk’s achievements
26 and bankruptcy pedigree and its and the Debtors’ opinion of
27 Angeion’s failures in other matters and its alleged lack of
28 bankruptcy experience or qualification by any bankruptcy court
     clerk.

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 1       The only issue to be dealt with in this regard is whether the

 2 Debtors’ notice procedures, as supplemented, should be approved as
 3 affording adequate due process under Mullane principles and on a
 4 cost-effective basis. If not, should TCC’s alternative proposals and
 5 choice of agent be chosen now or deferred because of delays in
 6 making Angeion’s representatives available for deposition or other
 7 considerations, such as comparative cost to the estate?                    The court

 8 also needs a clear understanding of the estimated costs to the
 9 estates of these two competing proposals.
10       On any of these topics the court would like to hear the views

11 of the United States Trustee and the General Unsecured Creditors
12 Committee as well as other parties.
13       The court will not engage in speculation about whether claims

14 could be or should be filed by the to-be-determined bar date based
15 upon fires that may occur and cause damage during the 2019 wildfire
16 season or any other time after January 29, 2019.
17       A critical issue related to the claims bar date, the

18 appropriate proof of claim form and the procedures to be implemented
19 that remains elusive to the court is the fate of the Brown/Greer
20 database.     Counsel are invited to suggest why the court should or

21 should not issue an OSC. for it to be produced either for in camera
22 review only to begin with, or to counsel for the GUCC and the
23 Debtors, at least on an “eyes-only” examination, or perhaps more
24 broadly.
25       Finally, if the Protective Order motions remain unresolved,

26 they will be last on the agenda.
27                            * * * END OF ORDER * * *

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